Case: 4:17-cr-00052-HEA-JMB Doc. #: 50 Filed: 01/09/18 Page: 1 of 1 PageID #: 107



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
     vs.                                     ) Case No. 4:17 CR 0052 HEA/JMB
                                             )
MATTHEW BURKETT,                             )
                                             )
               Defendant.                    )


                                         ORDER

          This matter is before the Court on Defendant Matthew Burkett’s motion to change

conditions of release. [ECF No. 49] The Government does not oppose this motion.

Defendant’s motion is GRANTED. All remaining conditions of release shall remain in

effect.



          SO ORDERED:

                                          /s/ John M. Bodenhausen
                                          JOHN M. BODENHAUSEN
                                          UNITED STATES MAGISTRATE JUDGE

Dated this 9th day of January, 2018.
